Case 3:22-cv-05246-RFL Document 58-1 Filed 12/07/23 Page 1 of 2

“urebe

- 3]0K902 aSed]q ‘9}]SEM JOWWNSUOD-jSsOd Wod epew si sHeyoed Siu}

MAIL
EXPRESS’

FLAT RATE
ENVELOPE

ONE RATE @ ANY WEIGHT

To schedule free Package Pickup,
scan the QR code.

USPS.COM/PICKUP

UMC

PS10001000006

Retail

= z UNITED STATES
£3 ee z POSTAL SERVICE ©
ie i PRESS FIRMLY 1
ed [ PAPER |©.
recreate Geer >

RDC 07

PME 1-Day
GREENVILLE, SC 29606
Ba 4 DEC 06, 2023

U.S. POSTAGE PAID

94612 $28.75

R2304N117418-7

(equ ioy ve) =is mero) me) ) | ef
FROM: (etease Print)

rine $0 of LEP SPE

LARRY GOLDEN
TY0 Woconu er /D.
MH OZ.

GREENVILLE, SC 27607

Cy WAN i =1N in =) e101) 0] I (Lael o) e)Lcer12002))
USPS® Corporate Acct. No. Federal Agency Acct. No. or Postal Service™ Acct. No.

Pernice Wtstoxsur\ sista /cer=a0rs) so) 0

MOON

EL be53598275 US

ES UNITED STATES a aa

[-4T-Day (2-Day OD Military Coro

fo) Ma) ==) Ale) ea (0) \ oem (OFT Colt Tae CLL D)

1) K SIGNATURE REQUIRED Note: The mailer must check the “Signature Required” box if the mailer: 1)

PO ZIP Code Scheduled Delivery Date Postage

Z160E

Requires the 's sigi OR 2) F OR 3) F COD service; OR 4)
Purchases Return Receipt service. If the box is not checked, the Postal Service will leave the item in the addressee's
mail receptacle or other secure location without fing to obtain the 's sigh on delivery.
Delivery Options

O1 No Saturday Delivery (delivered next business day)

Date Accepted (MM/DD/YY) Scheduled Delivery Time Insurance Fee COD Fee

B23) 28.25 |
I7e/ 23/0 ys sd

a Sunday/Holiday Delivery Required (additional fee, where available*)
Cd 10:30 AM Delivery Required (additional fee, where available*)
*Refer to USPS.com? or local Post Office™ for availability.

Time Accepted [10:30 AM Delivery Fee

Return Receipt Fee | Live Animal @
Transportation Fee

$

Zl? crm |g $

TO: (PLease PRINT) PHONE 0 437-2520
US$, DistieseT Louri—NDC- O7AKL7

pecial Handling/Fragile Sunday/Holiday Premium Fee Total Postage & Fees

V30/ CLAY STR
LOK LAND, LA

ZIP + 4° (U.S. ADDRESSES ONLY)

PLES 2s

Weight lat Rate

Casi No: ¥122-EV-0624G-KFL |5 s |
EET ra

ya W Tea NaGXevsue ees aa) ered eran 1)
Delivery Attempt (MM/DD/YY)

Acceptance Esaployee jnitials | |

ir

Lle Ton

Employee Signature

Olam
Oem

& For pickup or USPS Tracking™, visit USPS.com or call 800-222-1811.
@ $100.00 insurance included.

WRITE FIRMLY WITH BALL POINT PEN ON HARD SURFACE TO MAKE ALL COPIES LEGIBLE.

Delivery Attempt (MM/DD/YY)| Time

Employee Signature |
Olam
Opm

LABEL 11-B, OCTOBER 2016

EP13F July 2022
OD; 12.1/2 x 91/2

PSN 7690-02-000-9996 4-ORIGIN POST OFFICE COPY |

Lou

i}: UNITED STATES
| ae | | Bad postal Service.

and is provided solely for use in sending Priority Mail Express® shipments.

This packaging is the property of the U.S. Postal Service®

; July 2022; All rights reserved.

Misuses may be a violation of federal law. This package is not for resale. EP13F © U.S. Postal Service:

Case 3:22-cv-05246-RFL Document 58-1 Filed 12/07/23 Page 2 of 2

re | PRIORITY
UNITEDSTATES. | "wait

[Bd POSTAL SERVICE. | cypRess:

=EMs=

FLAT RATE ENVELOPE

ONE RATE @ ANY WEIGHT

To schedule free Package Pickup,
scan the QR code.

USPS.COM/PICKUP

VISIT US AT USPS.COM®
ORDER FREE SUPPLIES ONLINE

MI

OD: 12 1/2 x9 1/2

psioooro0000s | Spt ay ar GUARANTEED* "TRACKED « INSURED

For Domestic shipments, the maximum weight is 70 Ibs. For international shipments, the maximum weight is 20 Ibs.

